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1    GARY Y. LEUNG (Cal. Bar No. 302928)
     Email: leungg@sec.gov
2    DOUGLAS M. MILLER (Cal. Bar No. 240398)
     Email: millerdou@sec.gov
3    YOLANDA OCHOA (Cal. Bar No. 267993)
4    Attorneys for Plaintiff
     Securities and Exchange Commission
5    Michele Wein Layne, Regional Director
     Alka N. Patel, Associate Regional Director
6    Amy J. Longo, Regional Trial Counsel
     444 S. Flower Street, Suite 900
7    Los Angeles, California 90071
     Telephone: (323) 965-3998
8    Facsimile: (213) 443-1904
9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                                   Western Division
12
     SECURITIES AND EXCHANGE                      Case No. 2:18-cv-05008
13   COMMISSION,
                                                  PLAINTIFF SECURITIES AND
14                Plaintiff,                      EXCHANGE COMMISSION’S
                                                  RECOMMENDATION THAT GEOFF
15          vs.                                   WINKLER BE APPOINTED
                                                  RECEIVER
16   RALPH T. IANNELLI and ESSEX
     CAPITAL CORPORATION,
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                  Defendants.
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1          Plaintiff Securities and Exchange Commission (“SEC”) requests the
2    appointment of a receiver over Defendant Essex Capital Corporation (“Essex” or
3    “Defendant”), and any of its subsidiaries and affiliates. The SEC requests that the
4    receiver have the full powers of an equity receiver, including, but not limited to, full
5    power over all funds, assets, collateral, premises, choses in action, books, records,
6    papers, and other real or personal property, including notes, deeds of trust, and other
7    interests in real property, belonging to, being managed by, or in the possession or
8    control of the Defendant and any of its subsidiaries and affiliates.
9          The SEC is not seeking to have a receiver appointed over the individual
10   Defendant Ralph T. Iannelli, but is only seeking a freeze of his assets.
11         The SEC recommends that Geoff Winkler of the Bates Group be appointed
12   receiver in this action. Attached as Exhibit 1 is a copy of a letter, which states his
13   qualifications and the qualifications of his firm, and which includes a proposal to
14   provide services as a receiver in this action, as well as additional information on his
15   firm and their services.
16         Mr. Winkler sent the information attached as Exhibit 1 to the SEC at the
17   request of counsel for the SEC in this action, who solicited this information in
18   conformity with internal SEC procedures for selecting candidates to recommend for
19   appointment by federal district courts as receivers in SEC actions. The SEC obtained
20   proposals from two other qualified receiver candidates as well and evaluated all three
21   proposals before selecting Mr. Winkler as its recommended candidate for receiver. If
22   the Court desires, the SEC will provide information regarding these or other
23   candidates.
24         The SEC is recommending Mr. Winkler for several reasons. Mr. Winkler
25   spent nearly eight years working as the lead receivership administrator for a receiver
26   appointed in over a dozen federal equity receivership cases. Mr. Winkler has served
27   as interim CEO and CFO, and has experience managing the day-to-day operations of
28   companies. Mr. Winkler currently services as the Director of Bates Group’s Fraud
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1    and Forensic practice and has received his JD, MBA, and CFE. As a Director of the
2    Bates Group, Mr. Winkler will work with others who also have extensive experience
3    providing receivership, forensic accounting, and other related receivership services.
4          In the SEC’s experience, it is more economical to have a receiver that has such
5    capabilities in-house, in contrast to a receiver that would need to hire, for example, a
6    forensic accounting firm or other professionals to perform necessary receivership
7    duties. Moreover, Mr. Winkler and his firm have extensive experience with
8    managing receivership entities, as is stated in the attached information, including a
9    receivership company accused of defrauding over 12,000 investors and creditors for
10   $1.1 billion in claims. Ultimately, the company was placed into bankruptcy to shed
11   unprofitable investments and then restructured and sold, leading many of the
12   investors to receive more than 100 percent of their original investment. In another
13   matter Mr. Winkler worked on, a credit card processing company was accused of
14   unlawful trade practices by offering misleading and altered contracts related to
15   processing fees and equipment leasing. Mr. Winkler helped take possession of the
16   business, replaced all fraudulent contracts, wound down a dog racing operation, filed
17   delinquent tax returns and ultimately sold the business, making all victims whole and
18   writing a multi-million dollar check to the U.S. Treasury.
19         Mr. Winkler’s regular hourly rate as a receiver is $350 per hour, which he will
20   discount for this matter by 10%, to $315 per hour, which is reasonable, particularly in
21   view of his substantial experience. For these reasons, and because of the
22   qualifications set forth in the proposal attached as Exhibit 1, the SEC respectfully
23   recommends that the Court appoint Mr. Winkler as receiver in this matter.
24
     Dated: June 5, 2018
25
                                                    /s/ Gary Y. Leung
26                                                 GARY Y. LEUNG
27                                                 Attorney for Plaintiff
                                                   Securities and Exchange Commission
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1                                   EXHIBIT 1
2                                (Receiver Proposal)
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April 6, 2018


Via email: leungg@sec.gov

Gary Leung, Senior Trial Counsel
Securities and Exchange Commission
Los Angeles Regional Office
444 S. Flower Street, Suite 900
Los Angeles, CA 90071

Re:    Potential Receivership – Essex Capital Corporation and Ralph T. Iannelli


Dear Gary:

Thank you for the opportunity to prepare a proposal for the aforementioned potential receivership. The
following information is intended to provide an overview of my team, the general steps we would
anticipate taking in execution of this appointment, our experience and qualifications serving in fiduciary
matters, the billing rates we charge for performing our services, and other information potentially
relevant to this matter.

Staffing

About Bates Group

Bates Group’s team of professionals and experts bring decades of practical senior regulatory, legal,
compliance and business experience to bear on behalf of clients in regulatory, compliance, and litigation
matters. Our team of highly credentialed practitioners, including individuals who have earned such
designations as Certified Public Accountant, Chartered Accountant, Certified Fraud Examiner,
Chartered Financial Analyst and Certified Valuation Analyst, are leveraged by our clients to conduct or
participate in sensitive and complex regulatory and internal investigations. Our regulatory practice team
has worked closely with regional and multi-national financial services corporations, major law firms,
and federal and state regulators on hundreds of complex financial and securities industry cases.

We are often called upon to examine large datasets in conducting our investigations, or in assisting
counsel or regulators in evaluating their own analysis. Our team includes individuals who bring a unique
mix of financial industry knowledge and data science capabilities, which enables us to generate the
highest possible added value for our clients. Whether it's a large-scale insider trading investigation or a
focused examination into specific transactions and/or events, we use experienced programmers and
forensic experts with financial industry, fraud examination and accounting backgrounds to form an
effective team. Bates Group plays an integral role in helping parties understand the nature of the data
being examined and presents its results in a format that the parties can easily interpret and explain,
including investigations involving large and complex data sets.

                                           Bates Group LLC
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Proposed Receiver

I am the Director of Bates Group’s Fraud and Forensics practice, where I draw on my legal and financial
industry experience across a diverse range of businesses to provide strategic and focused consulting as
well as investigative and asset recovery analyses related to securities litigation and other sensitive
business issues. Before joining Bates Group, I was a business consultant and turnaround professional
where I gained extensive experience working with a wide array of businesses suffering financial,
organizational or management issues. I often functioned as interim CEO, CFO, or COO while working
to either restore the company to financial and organizational health or determine and execute the best
plan to close the business and liquidate the assets for maximum value. Throughout this time I have
worked closely with the SEC, FTC, state and federal agencies, as well as a host of local legal and business
professionals. My professional credentials include Certified Fraud Examiner (CFE), Certified
Insolvency and Restructuring Advisor (CIRA), and Certified Specialist in Asset Recovery
(CSAR).

Subject Matter Expert

Steve Daughters specializes in leading fraud and forensic accounting engagements and testifying in
litigation matters. His leadership experience includes corporate whistleblower investigations, complex
commercial damages, royalty disputes, lost earnings and business interruption claims. Mr. Daughters
has experience testifying as an expert witness in state and federal court matters. Previously, Mr.
Daughters worked at the Bank of America Leasing and Capital Group (BALCG) within the Global
Corporate Investment Bank (GCIB) of Bank of America. His various functions of BALCG consisted of
working on all parts of the leasing deal: origination, credit analysis, pricing, and syndication (equity and
debt). As an equity syndicator, his responsibilities included raising capital through bringing in investors
for lease agreements. Being a CPA, he was also involved with the complex modeling that determined
the net present value of the deals. Examples of leasing transactions that he has been involved with
include: leveraged leases (on or off balance sheet), QTE’s (Qualified Technological Equipment), LILO’s
(Lease-In, Lease-Out’s), Lease-to-Service contracts (son of LILO’s), and international structures.

Bates Consultants & Experts

Bates Group’s consultants and testifying experts have a great range of backgrounds representing a wide
variety of expertise. Our nationwide roster of over 120 quantitative and substantive consultants and
experts span 250 unique areas of expertise. They support clients and their counsel in retail, institutional
and complex securities and other financial services matters. They consult and testify in SEC and other
regulatory matters; in FINRA, NFA, AAA, and JAMS and other arbitration forums; in state and federal
court proceedings; and in insurance and actuarial matters. Our experts’ unique histories cover all aspects
of the financial industry, from industry practices to specific products. We pride ourselves on providing
the highest level of expertise, and that commitment is reflected in the quality of our individual
consultants and experts, who typically have 15+ years of industry experience within their field, followed
by years of experience testifying as expert witnesses in numerous forums.



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Other Professionals

Legal Counsel

To the extent that I determine that general receivership counsel is required, I anticipate engaging the firm
of Allen Matkins Leck Gamble Mallory & Natsis LLP (“Allen Matkins”). Allen Matkins is well-
qualified to serve as receivership counsel in connection with this matter, and regularly serves as counsel
for court-appointed receivers and other fiduciaries, including in enforcement actions brought by the SEC.
Indeed, Allen Matkins is presently serving as receiver’s or monitor’s counsel in a number of enforcement
actions brought by the SEC, including numerous matters in California. I have also confirmed that Allen
Matkins has experience in equipment leasing and financing matters, both as counsel for receivers
operating and liquidating leasing entities, as well as working directly with both leasing and financing
entities. Finally, Allen Matkins has agreed to discount its attorneys’ fees on this matter by 10% for the
duration of the receivership.

Tax Accountants

In the event that I am obligated to file tax returns, have other tax related obligations, or need tax advice,
I anticipate retaining Miller Kaplan Arase LLP to assist me. Miller Kaplan Arase has experience working
on receivership cases and understands the Qualified Settlement Fund nature of the receivership estate. I
will obtain a formal proposal from Miller Kaplan Arase in the event that these services become
necessary.

Computer Forensics

In many cases, it may be necessary to duplicate digital storage devices in order to preserve evidence or
locate assets. If necessary, I would propose hiring Elluma Discovery, a Southern California-based
computer forensics firm, to assist me, as they have experience in and understand the intricacies of
working on receivership cases. I will obtain a formal proposal from Elluma Discovery in the event that
these services are necessary.

I am sensitive to the costs associated with hiring legal counsel, tax accountants and computer forensic
experts and will only do so if necessary to effectuate the orderly administration of the receivership estate.
Prior to seeking concurrence from the Commission and approval from the court, I will perform a cost-
benefit analysis to quantify the decision, to the extent possible, and maximize the benefit to the estate
and return to investors.

All professionals retained by me will be required to follow my same billing practices, which are outlined
below and meets or exceeds the Securities and Exchange Commission’s Billing Instructions for Receivers in
Civil Actions Commenced by the U.S. Securities and Exchange Commission (SFAR).




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Anticipated Steps

Upon appointment as Receiver, and throughout the duration of my appointment, I would anticipate
taking the follow steps to ensure the orderly and cost-effective administration of the receivership estate:

   -   take custody and control of all receivership locations;
   -   isolate receivership computer systems to prevent unauthorized access;
   -   if warranted, forensically image all appropriate computers, phones, cloud based networks and
       portable media devices;
   -   preserve and document other sources of evidence;
   -   analyze and assess immediate financial issues, including, but not limited to payroll, insurance,
       operating expenses, credit cards, wire transfers and others;
   -   divert mail collection;
   -   identify and freeze all bank, brokerage, or securities related accounts;
   -   file and/or record the Order of Appointment, pursuant to 28 USC §754 in all jurisdictions where
       assets are located;
   -   identify and seize all personal and real property in the name of receivership defendants;
   -   serve notice of Temporary Restraining Order and Asset Freeze on all financial institutions,
       employees, vendors, landlords, investors and other interested third parties;
   -   immediately cease all fund raising and investment activities, if applicable, including monthly and
       quarterly payments and payments upon maturity;
   -   interview key parties to better understand business operations, fund raising activities and other
       information to assist in the orderly administration of the receivership estate;
   -   quickly analyze and assimilate business operations, develop pro forma financials to determine
       short, medium and long-term profitability of continued operations and, with the assistance of the
       parties, perform a cost-benefit analysis of continued operations versus shut-down of the business
       and then execute on the strategy that is decided;
   -   based on the strategy selected, either effectuate the wind-down of the existing business or
       position the receivership entities for continued operations, including setting up new operational
       accounts, a review of current facilities, staffing, insurance needs, benefits and others;
   -   establish receivership accounting and bank accounting;
   -   contact clients of the equipment leasing business to help them understand what is occurring in
       order to limit the impact of the receivership;
   -   identify and create a list of investors, creditors and other interested parties to be noticed in the
       case;
   -   actively reach out to investors to inform them of the receivership case and provide them
       information on how to contact the Receiver;
   -   create a website for investors to find information on contacting the Receiver, documents filed in
       the case and ultimately, the ability to file a claim in the case;
   -   if warranted, prepare a cost-efficient forensic accounting to identify assets, determine any
       recipients of ill-gotten gains and work with the SEC and the court to determine if there are other
       sources of potential recovery;
   -   examine the cost-benefit analysis of litigating claims against attorneys, accountants, officers,
       directors, insurance policies or others who may have contributed to investor losses;


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    -   analyze and/or value receivership estate assets in anticipation of disposition for the benefit of
        investors;
    -   work with the SEC to develop a claims process and distribution plan that are both equitable and
        efficient, and focused on preventing disparate treatment of similarly situated investors;
    -   prepare periodic status and accounting reports pursuant to the Order of Appointment;
    -   administer the filing of all tax returns and investor tax documents, as necessary; and
    -   wind down the affairs of the receivership estate and file a final report with the court.

Please note that this list only represents the general steps and is not necessary inclusive of all work to be
completed or in the order of anticipated completion. Furthermore, this list may be subject to
modification, including the addition or subtraction of steps based on the individual needs of the case and
the Order of Appointment.

Fiduciary Experience

While I have not previously served as a receiver, I spent nearly eight years working for as the lead
receivership administrator for Michael Grassmueck, an experienced receiver who was appointed in over
a dozen federal equity receivership cases. I served in significant roles in each case, including serving as
interim CEO and CFO, and ultimately managing the day-to-day operations of each of these cases.
Examples of cases in which I provided key receivership services include:

-   SEC v. Global Online Direct, Inc. et al., United States District Court for the Northern District of
    Georgia at Atlanta. The SEC sought a monitor to review the business activities of two farmers
    purporting to be operating a successful distressed merchandise resale business. Once onsite, it was
    quickly determined that no beneficial activities were occurring and the business was actually
    operating as a Ponzi scheme, having solicited nearly $45 million dollars in unregistered investments
    from over 10,000 domestic and international investors. The case was converted to a receivership and
    the assets were liquidated for the benefit of investors.

-   SEC v. Sunwest Management, Inc. et al., United States District Court for the District of Oregon at
    Eugene. The SEC sought a receivership and turnaround professional after they alleged that a large
    operator of retirement care facilities in 34 states was operating as a Ponzi-like scheme. In all, the
    company was accused of defrauding over 12,000 investors and creditors for $1.1 billion in claims.
    Ultimately, the company was placed into bankruptcy to shed unprofitable investments and then
    restructured and sold, leading many of the investors to receive more than 100 percent of their original
    investment.

-   FTC v. Merchant Processing, Inc. et al., United States District Court for the District of Oregon at
    Portland. A credit card processing company was accused of unlawful trade practices by offering
    misleading and altered contracts related to processing fees and equipment leasing. We took
    possession of the business, replaced all fraudulent contracts, wound down a dog racing operation,
    filed delinquent tax returns and ultimately sold the business, allowing us to make all victims whole
    and writing a multi-million dollar check to the U.S. Treasury.



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These are just a few examples of the many cases that I have successfully completed. A more detailed list
of federal monitor/receivership cases I have worked on can be found in the Fiduciary Services overview
attached to this proposal.

Billing Details

Due to our broad range of experience and expertise, Bates Group is able to perform almost all required
work in-house, saving both time and money, including tasks involving corporate accounting, forensic
accounting, case administration, claims administration, asset valuation, investor communication and
internet technology. Bates’ billing philosophy is to leverage work down to the staff member with the
lowest bill rate that also has the skills and experience necessary to complete the task. This allows us to
minimize the cost to complete all work associated with the case, ensuring a maximum return to
stakeholders involved in the matter while also preserving the quality of our work product.

Below is our 2018 Government Rate Sheet, which includes a 10 percent discount for government
matters, and will not increase for the pendency of the case.

                                    2018 Government Rate Sheet
                                 Role                     Discounted Rate
                  Receiver                                     $315
                  Managing Director/SME                      $279-$315
                  Director                                     $279
                  Consultant                                 $225-$270
                  Associate                                  $153-$198
                  Analyst                                    $121-$153
                  IT                                         $121-$153
                  Administrative                                $81
                  Forensic Accounting                        $198-$297
                  Corporate Accounting                         $126


All billing standards meet or exceed the Securities and Exchange Commission’s Billing Instructions for
Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (SFAR) and
the U.S. Trustee’s Guidelines for Reviewing Applications for Compensation and Reimbursement of
Expenses.

Bates will not seek reimbursement for routine copying, facsimile, postage or other expenses. Any
expenses which we will seek to have reimbursed will be done so in accordance with the SEC and U.S.
Trustee guidelines above. Costs directly attributable to the administration of the estate will be paid
directly by the estate in accordance with the Order of Appointment.




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Conclusion

Thank you for the opportunity to provide this proposal for receivership services in the Essex capital
Corporation matter. If you have any questions, or need any additional information, please feel free to
reach out to me. My direct line is (971)250-4323, my cell phone is (503)708-0028 and my email is
gwinkler@batesgroup.com.


Sincerely,




Geoff Winkler, JD, MBA, CFE
Director of Fraud & Forensic Investigations



Encl.: CVs of Potential Team Members
       Bates Group Fiduciary Services Overview and Experience




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  Geoffrey B. Winkler, JD, MBA, CFE
  5005 SW Meadows Road, Suite 300
  Lake Oswego, OR 97035
  Main: (503) 670-7772
  Fax:   (503) 670-0997
  Email: gwinkler@batesgroup.com


  BIOGRAPHY

  Geoff Winkler is the Director of Bates Group’s Fraud and Forensics practice, where he draws on his
  extensive legal and financial industry experience across a diverse range of businesses to provide
  strategic and focused consulting as well as investigative and asset recovery analyses related to securities
  litigation and other sensitive business issues.

  Before coming to Bates Group, Geoff was a business consultant and turnaround professional. He has
  extensive experience working with a wide array of businesses suffering financial, organizational or
  management issues. Geoff often functioned as interim CFO, COO or general manager while working to
  either restore the company to financial and organizational health or determine and execute the best plan
  to close or sell the business. He has experience working closely with the Securities and Exchange
  Commission, Federal Trade Commission, state and federal agencies, and local businesses and
  professionals.

  In addition to more than two decades of practical financial, legal, managerial and turnaround experience,
  Geoff also holds a Bachelor's Degree in Politics, a Master's Degree in Business Administration, and a
  Juris Doctorate from Willamette University. He is also recognized as a Certified Fraud Examiner by the
  Association of Certified Fraud Examiners and a Certified Insolvency and Restructuring Advisor by the
  Association of Insolvency and Restructuring Advisors. In 2011, Geoff and his team were awarded the
  Turnaround Management Association's "Turnaround of the Year" award for their work in the Securities
  and Exchange Commission v. Sunwest Management, Inc et al. case.

  Geoff has testified in several state and federal court matters and has been a guest speaker for a number
  of professional organizations, providing strategic advice and training to their members. He also is an
  adjunct professor of business law, business ethics and American government at Chemeketa Community
  College.

  EXPERIENCE

  Bates Group LLC, Director, Fraud and Forensics 2016-Present
  Bates Group LLC, Consultant, 2015 - 2016
  Grassmueck Group, Director of Case Management, 2007 - 2014
  Chemeketa Comm. College, Adjunct Professor of Political Science & Business Law, 2009 - Present
  Lafky & Lafky, Certified Law Clerk, 2005 - 2006
  Law Offices of Gale Rieder, Law Clerk, 2004 - 2005

  PROFESSIONAL CERTIFICATIONS

  Certified Fraud Examiner (Association of Certified Fraud Examiners), Certified Insolvency Restructuring
  Advisor (Association of Insolvency and Restructuring Advisors), and Certified Specialist in Asset
  Recovery (Association of Certified Financial Crime Specialists).


  Geoffrey B. Winkler                         www.batesgroup.com                                   Page 1
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  PROFESSIONAL ORGANIZATIONS

  Association of Insolvency Restructuring Advisors, Association of Certified Fraud Examiners, Turnaround
  Management Association, National Association of Bankruptcy Trustees, and National Association of
  Federal Equity Receivers.

  EDUCATION

  Willamette University Atkinson School of Graduate Management, Salem, Oregon.
   Masters in Business Administration, August 2008

  Willamette University School of Law, Salem, Oregon.
   Juris Doctorate, May 2006

  Willamette University College of Liberal Arts, Salem, Oregon.
   Bachelor of Arts, Politics, May 2003




  Geoffrey B. Winkler                        www.batesgroup.com                                 Page 2
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  Steve Daughters, CPA, MBA
  San Francisco, CA
  Main:    503.670.7772
  Fax:     503.670.0997

  BIOGRAPHY
  Steve Daughters specializes in leading fraud and forensic accounting engagements and testifying in litigation
  matters. His primary areas of concentration are corporate whistleblower investigations, complex commercial
  damages, royalty disputes, lost earnings and business interruption claims. Mr. Daughters has testified as an expert
  witness in state and federal court matters.

  With more than 25 years of experience assisting counsel, Mr. Daughters has worked with many of the top global law
  firms and the boards of Fortune 500 companies. Notable assignments include assisting boards with corporate
  investigations related to retroactive pricing of stock options, earnings management, revenue recognition and tax
  issues. His industry experience includes financial services, health care, high tech, real estate, energy and others.

  Mr. Daughters assisted three firms in developing the Bay Area litigation and forensic accounting practices. He was
  instrumental in winning several large investigations and contributing significantly to the early rapid growth of each
  firm practice. Mr. Daughters has Big 4 experience, serving as a Senior Manager with Ernst & Young.

  PROFESSIONAL EXPERIENCE

  Recent Forensic Accounting and Fraud Investigation Experience
     Directed a forensic accounting investigation, which included an expert declaration, on behalf of shareholders.
      Determined multiple red flags, including below average operating margins, numerous undisclosed related party
      transactions and equity distributions with no earnings analysis.

     Led a forensic accounting investigation on behalf of a large multi-national company after it was defrauded
      through bogus real estate transactions. Traced escrow funds through banking transactions to recover assets for
      client.

     Managed a forensic accounting investigation of a hotel management company. Discovered $500,000 of
      incorrect payments. Obtained a $500,000 reimbursement for our client.

     Performed a forensic accounting investigation for a Trustee to analyze the books and records of a bankrupt
      asbestos company. Our findings included the CEO misappropriating $100 million in executive loans.

     Managed multiple forensic accounting investigations to examine whistleblower fraud allegations.

     Conducted multiple corporate investigations and forensic accountings to analyze stock option back dating. Mr.
      Daughters was a leader in developing industry practices in performing these corporate investigations.

     Executed an investigation for an insurance company related to a $1 million payroll fraud in India.




  Steve Daughters                             www.batesgroup.com                                           Page 1 of 2
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  Recent Litigation and Dispute Advisory Experience
     Analyzed information related to post-financial crisis litigation project related to a commercial paper investment
      loss. Assisted counsel with the evaluation of investment suitability, portfolio performance, portfolio earnings
      and potential damages theories.

     Testifying in bankruptcy court for post-bankruptcy litigation matter over a leveraged leasing transaction.
      Dispute entails extensive financial transaction analysis and legal agreement review and documentation.

     Provided expert opinion on financial crisis litigation surrounding collateralized debt obligations (CDOs) and
      waterfall disbursements. Evaluated tranche payouts and liquidations for institutions and hedge funds.

     Performed dozens of analyses of business interruption and property damage claims following a major California
      earthquake.

     Testifying expert in copyright infringement matter related to the importing of counterfeit goods from China.
      Submitted expert report to evaluate alter ego issues and quantify unjust enrichment due to copyright
      infringement.

     Supported effort for a large scale forensic review of potential health care fraud for a government agency.
      Targets were behavioral health service organizations that were receiving Medicaid and Medicare
      reimbursements.

     Testifying expert in State Court matter regarding a construction dispute. Damage analysis includes investigative
      auditing of original contract and budgets, actual billings, change orders and all supporting documentation.

     Provided plaintiff’s counsel with an expert report and damages analysis based upon trade secret
      misappropriation in a Federal Court matter.


  EDUCATION

     Bachelor of Arts, Economics and Accounting, Claremont McKenna College
     Master of Business Administration, University of Southern California Marshall School of Business


  PROFESSIONAL AFFILIATIONS & CREDENTIALS
     Certified Public Accountant (CPA)
     American Institute of Certified Public Accountants
     California Society of Certified Public Accountants




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  Summary of Leasing Experience – Steve Daughters, CPA, MBA


  Steve Daughters is a CPA and Forensic Accountant worked at the Bank of America Leasing and Capital
  Group (BALCG) within the Global Corporate Investment Bank (GCIB) of Bank of America. I started at
  BALCG following graduation from business school. The various functions of BALCG consisted of
  working on all parts of the leasing deal: origination, credit analysis, pricing, and syndication (equity and
  debt). My role was that of an equity syndicator, where we raised money (brought in investors) for the
  equity piece of the lease deals. Being a CPA, I was also intimately familiar with the complex modeling
  that was being done to determine the Net Present Value (NPV) of the deals. There are a myriad of factors
  that are involved in determining the NPV of a lease deal. These factors include the FMV of the asset, the
  depreciable life, the depreciation method being used (for accounting and tax purposes), interest rates, tax
  rates, residual values of equipment, fees, etc. Some of the benefits of a lease are derived from the timing
  difference of the cash flows. For example, depreciation for tax purposes is often far quicker than
  depreciation for book purposes, especially for an asset that has a long useful economic life (5 years for tax
  versus 20+ years for book). This timing difference often creates a NPV. Leases, however, are not
  supposed to be done for solely tax benefits. If leases are entered into solely for tax purposes, with little or
  no economic benefit, the transactions may be disallowed by the IRS and result in an unwinding of the
  transaction.

  Examples of leasing transactions that I was aware of and involved with include:

          -   Leverage leases (on OR off balance sheet)
          -   QTE’s (Qualifing Technological Equipment)
          -   LILO’s (Lease-In, Lease-Out’s)
          -   Lease to Service Contracts (son of LILO’s)
          -   International structures

  Each of the above structures was highly dependent upon the type of equipment being leased, in addition
  to other factors.

  General parameters of a leveraged lease are 85% debt and 15% equity, resulting in 100% financing.
  These lessor benefits are provided in exchange for the immediate monetization of the lessee asset. In the
  case of a sale leaseback, the lessee monetizes an asset, but maintains the use of the asset. In exchange for
  this up-front cash, the lessor obtains the depreciation and interest deductions from the transaction. This
  often results in an income profile where much of the income recognized over the course of the leveraged
  lease is in the 1st 3-4 years of the lease term. Much of the remainder occurs at the back-end of the lease
  based upon the residual value of the asset. The various structures have different income profiles and vary
  by the myriad of factors going into the NPV lease calculation.

  In 2011, I served an expert in a post-bankruptcy dispute involving the lease of ~$350 million of
  semiconductor manufacturing equipment. I evaluated the numerous facets of the lease, including the
  Termination Value (TV) calculations. I assisted my client in saving over $100 million in TV payments.
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  Alex J. Russell, CFA
  5005 SW Meadows Road, Suite 300
  Lake Oswego, OR 97035
  Main: 503.670.7772
  Fax:    503.670.0997
  Direct: 971.250.4353
  Email: arussell@lbatesgroup.com

  BIOGRAPHY

  Alex Russell is the Director of Institutional and Complex Litigation for Bates Group LLC, where he is
  responsible for managing cases related to institutional disputes involving trust or banking entities, or
  cases related to investment banking or sales & trading, as well as those involving ultra-high net worth
  individuals. In addition, Mr. Russell is responsible for managing class action matters, as well as matters
  involving the assessment of economic damages. Mr. Russell also serves as the co-leader of Bates
  Group’s Big Data Analytics segment. Mr. Russell also provides expert witness testimony related to
  valuation, economic damages, quantitative financial modeling, and derivative strategies and products
  within both the retail and institutional securities litigation practice areas. He is an adjunct professor of
  finance at both Linfield College and in the Graduate School of Management at Willamette University.

  Mr. Russell was previously the head of Bates Group’s Research division, where he was responsible for
  managing, researching and writing reports that provide analytic coverage of the fixed income, equity, and
  structured product markets.

  Before joining Bates Group, Mr. Russell was a Consultant with LECG where he used his experience in
  accounting, finance, and the securities industry to provide support in forensic investigatory engagements
  mainly related to financial litigation cases.

  Prior to LECG, Mr. Russell was an auditor with the Oregon Department of Revenue, where he reviewed
  the filings of both individual and corporate filers. He has previously worked as a research analyst for
  Merrill Lynch and as an analytic consultant to Willamette University’s endowment.

  SELECT LITIGATION ENGAGEMENTS

      o    Retained by counsel to provide mathematical modeling support and analysis of other experts’
           Markov process model, including responding to the expert report in a damages case against a
           public company (healthcare). Quality of life and dollar cost impact of utilizing one type of heart
           valve over another were modeled in detail.

      o    Retained by counsel to address the suitability of various venture capital investments. Worked in
           association with testifying expert to compile financial analysis and comparable company analysis
           in order to determine whether or not suitability requirements were met. Created testimony
           exhibits and other various analyses.

      o    Retained by counsel to assist in the representation of a large mutual fund company in numerous
           (100+) FINRA arbitrations relating to its short term bond fund. Prepared damages models, and
           conducted various fixed income specific analysis relating to credit spreads, housing prices,
           duration and investment concentration requirements. Conducted in depth research into
           numerous complex securities such as CDOs, ABS and CMOs. Responded to other expert

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           reports and analysis, as well as preparing and refining testimony exhibits. Modeled NAV for the
           fund based on different hypothetical concentration requirements.

      o    Retained by a Swiss Bank to investigate its prime brokerage relationship with a large hedge fund.
           Specifically at issue was the options writing strategy utilized by the hedge fund, and the pattern of
           margin calls that this strategy had generated. A detailed review and recreation of the trading
           strategy was conducted, and a final report submitted.

      o    Retained by counsel to provide analysis and evaluation concerning option strategies for use
           within a portfolio. Evaluated structured products proposed to the group by bulge bracket
           Investment Banks. Modeling of all products, historical analysis, and simulation techniques used
           to estimate impact on the portfolio of including these derivative securities.

      o    Retained on behalf of a national broker-dealer in FINRA arbitration in San Francisco. A software
           error was alleged to have inflated the likelihood that claimants could retire at the age they wished,
           with their desired level of spending and an acceptable risk of running out of capital in retirement.
           Evaluated the ability of claimants to retire on time, subject to the above conditions, using various
           simulation techniques, including Monte Carlo, Stochastic Present Value and Exponential
           Reciprocal Gamma solutions. Damages mitigating calculations were also offered via testimony.
           Assisted counsel in analyzing other expert material, and provided questions for cross
           examination.

      o    Retained on behalf of a multinational financial services corporation in FINRA arbitration in Dallas,
           regarding damages caused by a temporary error in the online trading platform provided to a day
           trading entity. Cost basis, wash sales, and trade matching considerations were covered, in
           addition to damages models. Responded to damage theories put forward by the opposing expert
           in settlement negotiations.

      o    Retained on behalf of a medical group, hospital, and emergency room physicians in Nevada
           State Court, regarding economic damages, including but not limited to future lost wages and loss
           of support damages, resulting from medical malpractice.

      o    Retained on behalf of a national corporation in Washington State Court, in a securities class
           action lawsuit subsequent to a restatement of financials. Simultaneous inquiry from the SEC, and
           a derivative shareholder case (Pennsylvania) were also filed. Testimony areas include the
           calculation of 10b-5 damages under various theories of share price inflation, event study analysis
           to identify significant movements in stock price, and statistical analysis of short selling activity as
           a driver of stock returns.

      o    Retained on behalf of a global asset management firm in Arizona State Court to provide a
           forensic accounting of the activity that occurred within a Trust account wherein potential fraud had
           occurred with respect to a Trust beneficiary of diminished mental capacity. Provided a full
           accounting of the activity, as well as a rebuttal of plaintiff's expert's theory of damages. A written
           report was provided.

      o    Retained on behalf of an individual in Washington State Court to provide an analysis of the
           economic damages suffered as a result of alleged improper termination. After an extensive
           review of his personal documentation, an analysis of the economic damages was created,
           covering the loss in income, benefits, and retirement account contributions and asset growth
           within those accounts. Modeling was conducted and damages were estimated under multiple
           different scenarios, including different retirement ages. A written report was provided.

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      o    Retained on behalf of a leading global provider of insurance, annuities and employee benefit
           programs in FINRA arbitration to opine on a reallocation from one set of funds, to a different sub-
           allocation of funds within a variable annuity in a particular client's account. Modeled the economic
           impact of the reallocation on both the death benefit and total guaranteed withdrawal amount
           riders associated with the annuity, as well as on the account value over all as a result of the
           change. Hypothetical scenarios assuming the allocation had not been changed were also
           presented.

      o    Retained on behalf of a global asset manager in relation to a regulatory enforcement action
           initiated by the Department of Labor. The allegations concerned trade crossing within protected
           accounts, and counsel requested an analysis of the DOL's theory of damages. Pricing and
           subsequent performance of fixed income and equity securities was examined, as well as
           establishing correct benchmarks based on client account objectives. Multiple scenarios were
           generated addressing the DOL's critiques, and an alternative theory of damages was put forth
           that rebutted the DOL's critiques related to mispricing, subsequent performance on trades, and
           trade execution.

  SELECT FORENSIC ACCOUNTING INVESTIGATIONS

      o    Retained by special counsel of the special committee of the board of directors of a public
           company (semiconductor) to perform a forensic investigation of the company’s historical stock
           option granting practices to determine if backdating of stock options had occurred and to opine on
           the correct accounting treatment of stock option grants with regard to the company’s restatement.

      o    Retained by special counsel of the nominating and governance committee of the board of
           directors of a public company (wireless devices) to perform a forensic accounting investigation of
           the company’s historical stock option granting practices to determine if backdating its stock
           options had occurred and to opine on the correct accounting treatment of option grants with
           regard to the company’s restatement. Retained by the company to evaluate the financial results
           related to its stock option restatement in accordance with GAAP.

      o    Retained by counsel to investigate the activities of a large conglomerate company in relation to its
           Australian uranium export activity. Analysis included detailed reconciliation of thousands of
           shipping documents, end user agreements, and transfer pricing analysis. IASB and Australian
           regulatory issues were also examined.

      o    Retained by counsel to examine the financial relationship between a major US investment Bank
           and a large Italian dairy conglomerate. Analysis focused on the treatment of numerous complex
           derivative agreements entered into over the course of a decade. Advised on proper accounting
           treatment of agreements under both GAAP and IASB standards.

      o    In a well-publicized bankruptcy involving a broker-dealer, managed millions of data points across
           competing databases. Managed our IT team and in-house programmers to efficiently search each
           database and succeeded in tracing the movement of the firm’s assets under management
           (customer funds) in the weeks prior to bankruptcy. In turn, this made it possible to identify and
           illustrate when assets had been used inappropriately. Summary analysis was prepared using
           Python.

      o    Retained on behalf of the regulatory division of a major broker/dealer to respond to an SEC
           inquiry that focused on investment allocation in a group of mutual funds. Spanning 30 funds that

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           were traded across 1,200 accounts, traced the activity on the 1,000+ purchases that were at
           issue. Allocating the trading and account transfer activity between those purchases/sales which
           were at issue (as opposed to those which were not) proved to be the paramount task. With the
           assistance of our in-house programming team and the use of our proprietary programs,
           successfully navigated through the hundreds of thousands of lines of transactions to ultimately
           arrive at a clear and concise summary that the client relied upon to respond to the SEC.

      o     Worked directly with a financial services firm’s inside counsel to prepare an economic benefit
           analysis showing the impact of a large number of variable annuity switches. The analysis used
           internal reports as well as Morningstar to evaluate the switches at policy, benefit and fund levels.
           Analyses included review of surrender charges and premium enhancements to evaluate the
           potential damages associated with alleged variable annuity sales practice violations. In addition,
           assisted counsel during this investigation by reviewing the damage calculations provided by the
           state and providing clarification regarding the calculation methodology.

      o    On behalf of the regulatory division of an international broker/dealer analyzed over 300
           multicurrency accounts with the ultimate goal of tracing the flow of assets to establish
           relationships in a potential money laundering scheme. Utilized many proprietary programs and
           created custom program solutions (including relationship mapping) that highlighted those
           transactions connecting accounts/individuals. This resulted in the client having to close many
           accounts and pursue additional legal action.

  SELECT CONSULTING ENGAGEMENTS

      o    Retained by a Fortune 500 company to perform statistical analysis to support cash reserve
           estimates and project completion likelihood in relation to a major construction project in Las
           Vegas.

      o    Retained by a local bank company to perform a risk assessment of their lending process,
           including a statistically valid examination of their likely loan losses, and the overall quality and
           characteristics of their existing loan portfolio. Prepared and submitted an advisory report.

      o    Retained by state government to analyze the revenue implications of adopting various hotel and
           tourism tax policies. Involved detailed forensic analysis of previous revenue generated under
           various tax initiatives. Created and ran numerous simulations of proposed tax system using SAS,
           in order to prepare an authoritative report recommending a single course of action.

      o    Performed risk assessment on a number of proprietary strategy funds acquired by a particular
           financial institution prior to their being available for the institution’s general FA team to put clients
           in. This was done to determine whether the Funds’ performance appeared inconsistent with its
           stated investment strategy or other benchmarks such that there was a basis for further scrutiny.
           The assessment analyzed strategy-adjusted returns across a number of dimensions to assess on
           an ex-ante basis if there was a heightened risk of fraud/NAV manipulation, based on aberrant
           performance indicators. Dimensions included: 1. A discontinuity in the distribution of returns, 2.
           Unconditional serial correlation in returns, 3. Conditional serial correlation in returns, 4. The
           pattern of return and volatility, 5. Data quality, 6. Frequency of positive returns v. frequency of
           negative returns, 7. Kurtosis and skewness, and 8. Measures of low correlation between fund
           returns and the returns of similar assets.

      o    Created a mock MIDAS (Market Information Data Analytics System) for a major financial
           institution in order to prepare that institution for possible findings if they were targeted for review

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            by the SEC. Mean frequency analysis was applied to every order within the selected traders’
            books against the NBBO. The curve formed by the shape of deviations from the mean over time
            was used to examine a number of potential Rule 10b-5 violations, depending on the shape of the
            deviation space. These could include market timing, spoofing, inter-positioning, trading ahead,
            and insider trading.

   EXPERIENCE

   Lindfield College, Adjunct Professor – Finance
   Willamette University Atkinson Graduate School of Management, Adjunct Professor – Finance
   Bates Group LLC, Head of Research (2013 to 2016)
   Bates Group LLC, Senior Manager Capital Markets (2011 to 2013)
   LECG, Consultant (2008 to 2011)
   LECG, Senior Associate (2006 to 2008)
   Willamette University Endowment, Consultant (2004 to present)
   Oregon Department of Revenue, Audit (2004 to 2006)
   Merrill Lynch, Research Analyst (2005)

   EDUCATION & PROFESSIONAL QUALIFICATIONS

   Chartered Financial Analyst, 2012
   Certified Fraud Examiner, 2008
   MBA, Willamette University, Finance, 2006
   BA, American University, Mathematical Logic, 2003
   Association of Certified Fraud Examiners
   CFA Institute
   CFA Society of Portland




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    Andrew C. Daniel, CA, CVA, CFE, CAS
    Director
    Main: 503.670.7772
    Fax:    503.670.9997
    Direct: 503.724.8995
    Email: adaniel@batesgroup.com

    BIOGRAPHY

    Andrew Daniel is a Director of Bates Group LLC and uses his experience in accounting, finance, and
    the securities industry to manage forensic investigations and dispute consulting engagements related
    to investment and financial litigation, as well as providing valuations in business interruption cases.

    His experience in investment litigation includes preparing financial and damages analysis, and
    consulting on: trading patterns, financial market trend research and event analysis, investment
    product and market risk analysis, concentration, actively vs. passively managed investment
    strategies, investment cost analysis and case assessment related to securities litigation and other
    financial matters. Mr. Daniel has led engagements involving a wide variety of investment products
    including: structured products, financial and agency preferred securities, annuities, mutual funds,
    options, equities and exchange traded funds. He has testified as an expert in financial litigation cases
    on more than 50 occasions.

    Mr. Daniel also has experience leading multi-million dollar property, business interruption, and lost
    profit engagements. Engagements have involved financial assurance disputes and lost profits
    associated with contractual disputes. He has been retained to testify in these areas on several
    occasions.

    Mr. Daniel’s experience in financial litigation includes: alter ego litigation, assessing claims in the
    construction industry, analysis of pension plan investment options and relative costs, and reviewing
    back dated stock option processes, application of accounting standards and calculating associated
    financial statement adjustments. He has been a work product and consulting expert in these areas.

    Before joining Bates Group, Mr. Daniel was a Principal with LECG and senior manager with Bates
    Private Capital Incorporated, a firm providing litigation consulting, financial analysis, market trend
    research, and expert witness testimony for securities and other financial-related matters.

    Mr. Daniel began his financial career as a senior accountant with Coopers & Lybrand in Melbourne,
    Australia where he performed financial audits and related tax work for insurance, investments,
    retirement benefits and manufacturing companies, state based tertiary institutions, and local
    government organizations. He has also worked as an audit supervisor and management accountant
    with several companies in Australia utilizing his finance, accounting, and management skills in the
    operational aspects of national initiatives and strategic business ventures, the development of
    reporting models, and change management projects.




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    SELECT FORENSIC ACCOUNTING INVESTIGATIONS

        o   Retained by special counsel of the special committee of the board of directors of a public
            company (semiconductor) to perform a forensic investigation of the company’s historical
            stock option granting practices to determine if backdating of stock options had occurred and
            to opine on the correct accounting treatment of stock option grants with regard to the
            company’s restatement.

        o   Retained by special counsel of the nominating and governance committee of the board of
            directors of a public company (wireless devices) to perform a forensic accounting
            investigation of the company’s historical stock option granting practices to determine if
            backdating its stock options had occurred and to opine on the correct accounting treatment of
            option grants with regard to the company’s restatement. Retained by the company to
            evaluate the financial results related to its stock option restatement in accordance with
            GAAP.

        o   Retained by special counsel of the special committee of the board of directors of a public
            company (broadband devices) to perform a forensic investigation of the company’s historical
            stock option granting practices to determine if backdating of stock options had occurred and
            to opine on the correct accounting treatment of stock option grants with regard to the
            company’s restatement.

        o   Retained by counsel to provide advice and prepare various analyses related to a potential
            derivative lawsuit against an officer of a public company (technology Infrastructure) related to
            historical stock option accounting practices.

        o   Retained by a Fortune 500 company (software) to analyze contract management, purchase
            order, and creditors systems to identify duplicate or incorrect payments for follow up and
            collection by the client.

        o   Retained by Fortune 500 company (insurance) to provide research on GAAP and accounting
            guidance related to the transfer of risk under reinsurance contracts.


    BUSINESS INTERRUPTION VALUATION ENGAGEMENTS

        o   Retained by counsel of a privately held company to perform a review and assessment of the
            company’s compliance with local government financial assurance requirements. The review
            resulted in the preparation of a series of expert reports and affidavits in defense of allegations
            that the company had failed to meet the required financial assurance.

        o   Retained by counsel of a privately held company to perform an analysis of the lost profits
            associated with local government’s decision to prematurely withdrawal approval for the
            continued operation of the company’s business.




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    SELECT LITIGATION ENGAGEMENTS

        o   Retained by counsel as a work product consultant to provide analysis and advice regarding a
            contractual dispute which included an analysis of inventory and shipment records, unit costs,
            foreign exchange fluctuations, required disclosures under Australian accounting standards
            (AAS) and a comparison of internal documents to external communications made to
            customers.

        o   Retained by counsel representing a multi-national broker-dealer firm to testify on asset and
            sector allocations, relative risk of alternative hypothetical investments, hypothetical profit and
            loss analyses critiquing plaintiff’s expert’s damages calculations.

        o   Retained by counsel as a work product consultant to provide analysis and advice regarding
            various accounting issues with regard to stock option accounting in a criminal case involving
            alleged backdating of stock options by the CEO of a public company.

        o   Retained by counsel representing a multi-national insurance provider to testify on the profit
            and loss associated with investment decisions made by a retail investor with respect to
            retirement based investment products and other alternative investments.

        o   Retained by counsel to provide advice and prepare various statistical analyses related to a
            derivative lawsuits against various directors and officers of a public company (semi-
            conductor) related to its historical stock option accounting practices.

        o   Retained by counsel representing a multi-national broker-dealer firm to testify on claimant’s
            trading activity in specific stocks and corporate debentures securities in light of research
            reports issued by Wall Street firms and other reporting agencies.

        o   Retained by counsel to provide advice and prepare various market-timing and late-trading
            analyses in a criminal case involving alleged market timing and late trading of various
            institutional investors.

        o   Retained by counsel representing a Fortune 500 company (retail) to analyze ERISA related
            allegations addressing excessive management fees and expenses associated with the
            management of the plan and the retail mutual funds offered; the retention of imprudent
            investment options; failure to implement and have adequate procedure for evaluation,
            selecting and monitoring fund options.

        o   Retained by counsel representing a Fortune 500 company (consumer staples) to analyze
            ERISA related allegations addressing: breach of fiduciary duty, maintaining and holding
            excessive cash in company stock funds, charging excessive fees and expenses, inherent
            costs associated with a unitized stock fund.

        o   Retained by special counsel of an insurance company to perform a detailed review of over
            100,000 documents relating to a construction company’s performance on multiple projects.
            The review resulted in the reconstruction of events leading up to the claim and graphical
            presentations of data to assist in determining if a payout by the insurance company was
            valid.




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    EXPERIENCE

    Bates Group LLC, Director, 2013 to Present
    Bates Group LLC, Principal, 2011 to 2013
    LECG, Principal, 2005 to 2011
    Bates Private Capital Incorporated, Lake Oswego, Oregon, Senior Manager, 2002–2005
    Nike Inc., Beaverton, Oregon, Senior Financial Analyst, Contract Position, 2002
    Jossco USA Inc., Portland, Oregon, Financial Controller, 1999–2001
    Bankers Trust Australia, Sydney, Australia, Management Accountant, 1998–1999
    Broken Hill Proprietary Company, Wollongong, Australia, Management Accountant, 1996–1998
    Grant Thornton LLP, Melbourne, Australia and Vancouver, Canada, Audit Supervisor, 1994–1996
    Coopers & Lybrand, Melbourne, Australia, Senior Accountant, 1990–1993


    EDUCATION & PROFESSIONAL QUALIFICATIONS

    Certified Annuity Specialist, Institute of Business & Finance, 2012
    Certified Valuation Analyst (CVA), National Association of Certified Valuation Analysts, 2009
    Certified Fraud Examiner (CFE), Association of Certified Fraud Examiners, 2008
    Associate of the Institute of Chartered Accountants (ACA), Australia, 1992
    Masters in Business and Technology, University of New South Wales, Sydney, Australia, 2000
    Bachelor of Economics, Monash University, Melbourne, Australia, 1989




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    Benjamin R. Pappas
    Chief Operating Officer
    Lake Oswego, OR
    Direct:   503.869.3306
    Main:     971.250.4329
    Fax:      503.670.0997
    Email:    bpappas@batesgroup.com


    BIOGRAPHY

    Benjamin Pappas is the Chief Operating Officer of Bates Group in Lake Oswego, Oregon, where he
    uses his strategic planning and finance background to set financial policy and direction while also
    being an active participant in, and driver of, the company’s overall strategy. Prior to joining Bates
    Group, Mr. Pappas was Senior Vice President and Chief Operating Officer of D.A. Davidson
    Companies’ Equity Capital Markets business, where he was responsible for the implementation of
    strategic growth initiatives and the development of an annual financial budgeting and forecasting
    process. Mr. Pappas has also previously worked as an equity research analyst and strategic planning
    analyst focused on the technology industry, after beginning his career as a financial advisor at Merrill
    Lynch. Additionally, he is a graduate of the Securities Industry Institute at the University of
    Pennsylvania’s Wharton School of Business. Mr. Pappas enjoys traveling and is an avid sports fan
    and athlete.

    EXPERIENCE

    D.A. Davidson & Co. – SVP & Chief Operating Officer, Equity Capital Markets (ECM); 2010 – 2016

    D.A. Davidson & Co. – Board of Directors, Advisory Member; 2013 – 2016

    D.A. Davidson & Co. – Institutional Equity Research, Technology Team; 2007 – 2010

    Lattice Semiconductor – Strategic Planning Analyst; 2005 – 2007

    Merrill Lynch – Financial Advisor; 2004 – 2005

    EDUCATION

    University of Oregon, Lundquist College of Business
    Executive MBA; 2014-2016 (expected)

    University of Pennsylvania, Wharton School of Business
    Securities Industry Institute; 2013-2015

    Linfield College
    Bachelor of Science (BS) with Triple Major: Economics, Mathematics, Chemistry; 2000-2004

    PROFESSIONAL QUALIFICATIONS

    Audit Committee – Unitus Community Credit Union


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    David S. Zweighaft, CPA/CFF, CFE
    5005 SW Meadows Road, Suite 300
    Lake Oswego, OR 97035
    Main: 503.670.7772
    Fax:   503.670.0997
    Email: dzweighaft@dszforensic.com


    BIOGRAPHY

    David S. Zweighaft is a Fraud Subject Matter Expert with over twenty years of experience serving the
    legal and financial services communities with both consulting and expert witness services. Mr.
    Zweighaft has diverse industry experience in Accounting, Auditing, Finance and Project
    Management. He has extensive expertise in Accounting Policies and Procedures and Financial
    Reporting with an emphasis on investigating financial statement misrepresentations, assessing the
    effectiveness of internal controls and their impact on operational efficiencies.

    Mr. Zweighaft is responsible for providing law firm clients with litigation consulting services including
    conducting investigations, performing analyses and calculating economic damages, providing expert
    witness testimony and performing due diligence reviews. In addition, he has managed large litigation
    consulting engagements, assessing controls and evaluating documents produced during the
    discovery process. Prior to starting his own practice, Mr. Zweighaft spent four years at a risk
    management advisory firm as Associate Director of their Fraud Risk Management practice and over
    thirteen years with global public accounting firms focusing on litigation and forensic services. Mr.
    Zweighaft is based in New York.


    EXPERIENCE

    Bates Group LLC, Expert Witness, July 2013 to Present
    DSZ Forensic Accounting & Consulting Services, LLC, New York, NY, Principal, January 2008 –
    Present
    RGL Forensics, New York, NY, Director, January 2009 – December 2009
    Protiviti, Inc., New York, NY, Associate Director, Financial Investigations & Litigation Consulting
    Services, August 2004 – December 2007
    Lazar Levine & Felix LLP, New York, NY, Principal - Litigation and Forensic Services, November
    2000 – August 2004
    Deloitte & Touche LLP, New York, NY, Manager, Forensic Accounting and Corporate Investigative
    Services Practice, December 1996 – November 2000
    Coopers & Lybrand LLP, New York, NY, Senior Associate, Litigation Consulting and Dispute
    Resolution Services, August 1990 – December 1996

    EDUCATION

    Pace University - Master of Science in Accounting – September 1990
    Georgia Institute of Technology – Bachelor of Science in Industrial Management – August 1984
    Certificate in Industrial & Organizational Psychology




    David S. Zweighaft                        Updated 12/24/15                                     Page 1 of 2
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    PROFESSIONAL QUALIFICATIONS AND AFFILIATIONS

    American Institute of Certified Public Accountants
    Certified in Financial Forensics
    Member, Forensic and Valuation Services Section
    Member, Anti-Fraud Task Force
    New York State Society of Certified Public Accountants
    Chair, NYSSCPA Litigation Services Committee 2005 – 2007
    Co-Chair, Annual Anti-Fraud/Anti-Money Laundering Conference (various years 2002 – 2011)
    Association of Certified Fraud Examiners
    Faculty, Annual ACFE Global Fraud Conference 2012, 2013
    Center for Strategic Business Integrity
    Certified Board Advisor
    Member, Board of Advisors
    New York University School of Professional Studies, Adjunct Faculty




    David S. Zweighaft                    Updated 12/24/15                                Page 2 of 2
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    Jennifer L. Stout
    5005 SW Meadows Road, Suite 300
    Lake Oswego, OR 97035
    Direct: 971.250.4302
    Main: 503.670.7772
    Fax:    503.670.0997
    Email: jstout@batesgroupllc.com

    BIOGRAPHY

    Jennifer Stout, President and CEO of Bates Group LLC, embodies the core "Bates Values" that: all
    client needs are embraced as our own; all challenges can be addressed; and we can innovate and
    compete while treating others and our team with dignity and respect. Born and raised in Oregon,
    Jennifer began her career as a CPA at Arthur Anderson (a Big Five accounting firm) before joining
    Bates, where over the last 20 years she has grown from an entry-level financial analyst into the
    leader of the Company. She builds on her detailed understanding of all facets of Bates Group’s
    strengths by working tirelessly to expand the boundaries of our "End-to-End" solutions and services
    benefiting clients throughout the life cycle of their legal, regulatory and compliance matters.

    As the key driver of Bates' growth, Jennifer works to ensure that Bates' clients nationally and
    internationally are receiving exceptional support. Her commitment to building a world-class company
    is embraced by countless clients and the entire Bates team. Jennifer encourages and drives Bates
    and its clients to stay one step ahead of the curve by identifying and resolving issues before they
    even present themselves and making sure that we have the staff, resources, and expertise to provide
    solutions. Her caring approach to each client enables us to build long-term, substantial relationships
    with everyone we serve.

    Jennifer is an avid reader and traveler, and she mostly enjoys spending time with her three children
    and pets, and laughing with friends and colleagues.

    EXPERIENCE

    Bates Group LLC, President/CEO, 2011 to present
    LECG, Director, 2005 to 2011
    Bates Private Capital Incorporated, Lake Oswego, Oregon, Managing Director, 2000–2005;
     Senior Associate, 1993–1999
    Arthur Andersen & Co., Portland, Oregon, Associate, Tax Department, 1990–1993

    EDUCATION & PROFESSIONAL QUALIFICATIONS

    Certified Public Accountant, 1993
    BBA, Accounting, University of Portland, 1991
    National Seminars at Arthur Andersen (2 years), specialized in tax, management, and audit training




    Jennifer L. Stout                     www.batesgroupllc.com                                 Page 1 of 1
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   Julie R. Johnstone, CPA
   5005 SW Meadows Road, Suite 300
   Lake Oswego, OR 97035
   Direct: (971) 250-4319
   Main: (503) 670-7772
   Fax:    (503) 670-0997
   Email: JJohnstone@batesgroupllc.com

   BIOGRAPHY

   Julie Johnstone is a Principal of Bates Group LLC, where she uses her experience in accounting and
   finance to provide consulting and manage forensic investigatory engagements primarily related to
   financial litigation cases.

   Before joining Bates Group, Ms. Johnstone was a senior manager/consultant with LECG and Bates
   Private Capital Incorporated, a firm that provided litigation consulting, financial analysis, market trend
   research, and expert witness testimony for securities and other financial-related matters.

   Ms. Johnstone also provided contract accounting services through Johnstone Accounting Solutions, Inc.
   where she served as controller for various clients, as well as provided monthly bookkeeping and tax
   services to small businesses and individuals. Ms. Johnstone began her accounting career in the audit
   department at Ernst & Young, and then continued her career at Symonds, Evans & Company (formerly
   Symonds, Evans & Larson, P.C.), performing financial statement audits and reviews in a variety of
   industries.

   EXPERIENCE

   Bates Group LLC, Principal, 2011 to Present
   Bates Group LLC, Senior Managing Consultant, 2011
   LECG, Senior Managing Consultant, 2008-2011
   LECG, Lake Oswego, Oregon, Senior Manager, 2005-2008
   Bates Private Capital Incorporated, Lake Oswego, Oregon, Senior Manager, 2001-2005;
     Interim Controller, 2005
   Johnstone Accounting Solutions, Inc., Portland, Oregon, Owner, 1997-2005
   Symonds, Evans & Company, Portland, Oregon, Manager, 1992-1997
   Ernst & Young, Portland, Oregon, Senior, 1989-1991

   EDUCATION

   Certified Public Accountant, 1991
   BS, Business Administration/Finance, Portland State University, 1988




   Julie R. Johnstone                         www.batesgroupllc.com                                Page 1
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   Michael K. Smith
   Bozeman, MT
   Main: 503.670.7772
   Fax:   503.670.0997
   Email: msmith@batesgroup.com



   BIOGRAPHY
   Mike Smith is a Bates Group consultant and expert witness based in Bozeman, MT. Throughout his 40-
   year securities and banking career, he has interacted at the highest levels of management, as well as
   with clients of all types and account sizes. As a result of this experience, Mr. Smith possesses an in-depth
   understanding of supervisory requirements and sales practice regulations, as well as most investment
   products and services including; Equities, Fixed Income, Mutual Funds, Investment Management,
   Options, Futures, Structured Products, Restricted Stock Transactions and Lending. As a Managing
   Director and Regional Manager, he was responsible for all aspects of the securities and banking activities
   within the Midwest region for three major firms: Lehman Brothers, Barclays Wealth and Citi Private Bank.

   Mr. Smith managed up to 110 registered representatives, including compliance and operational staff. He
   supervised an Office of Supervisory Jurisdiction (OSJ), and was consistently noted in audit findings for a
   "high level of compliance awareness with regulatory rules and firm policies." Mr. Smith possesses an
   extensive understanding of Sarbanes- Oxley and SEC/FINRA regulations.

   At Citi Private Bank, Mr. Smith had direct management and supervisory responsibility for servicing 125
   UHNW clients; collectively with $1B in deposits, $1B in managed investments and $2.5B in outstanding
   loans. Comptroller of the Currency (OCC) audits reported the business to be in excellent compliance with
   all policies and regulations.

   During his tenure at Lehman Brothers, Mr. Smith directly supervised four business lines; retail brokerage
   and investment advisory, middle-market fixed income and equity sales, and corporate cash management.
   Revenues and AUM's exceeded $110M and $6.5B respectively. In addition, internal and external audit
   results improved dramatically as a result of his restructuring of the compliance and operations teams.

   Mr. Smith has meaningful crisis management experience as a result of overseeing the cleanup (legal,
   regulatory, financial, personnel, etc.) of a 15-year ongoing Ponzi scheme that was discovered in the
   Cleveland, OH office of Cowen and Co. shortly after the acquisition of Cowen's retail operations by
   Lehman Brothers. In addition, Mr. Smith further honed his crisis management skills during the six months
   prior to and after Lehman Brothers bankruptcy filing in September 2008.


   PROFESSIONAL EXPERIENCE
   Citigroup – Chicago, IL (2010-2015)
   Managing Director, Head of Midwest Region Citi Private Bank, North American Leadership Team

   Barclays – Chicago, IL (2008-2010)
   Managing Director, Head of Midwest Region

   Lehman Brothers – Chicago, IL (1997-2008)



   Michael K. Smith                        www.batesgroup.com                                    Page 1 of 2
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   Managing Director, Midwest Regional Manager

   Morgan Stanley – Chicago, IL (1982-1997)
   Principal

   Kidder, Peabody & Co. – Chicago, IL (1979-1982)
   Registered Representative, Restricted Stock Specialist

   Merrill Lynch Pierce Fenner & Smith – Chicago, IL (1977-1979)
   Registered Representative

   Loewi & Co. – Chicago, IL (1976-1977)
   Registered Representative

   E.F. Hutton – Chicago, IL (1975-1976)
   Runner, Phone Clerk, Trade Checker, Floor Broker - Chicago Board Options Exchange


   EDUCATION

   BA, Economics, Rockford College – Rockford, IL (1971-1975)


   PROFESSIONAL LICENSES & CREDENTIALS

   Series 8, 23 // 3, 5, 7, 15 // 63, 65
   NFA and FINRA Arbitrator




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    Scott E. Lucas
    5005 SW Meadows Road, Suite 300
    Lake Oswego, OR 97035
    Direct: (971) 250-4344
    Main: (503) 670-7772
    Fax:    (503) 670-0997
    Email: slucas@batesgroupllc.com

    BIOGRAPHY

    Scott Lucas is Managing Director of Bates Group's Internal and Regulatory Investigations practice,
    where he uses his 20 years of experience in securities, accounting, and finance to help orchestrate
    forensic analyses related to financial disputes and investigations. He has extensive experience
    working with counsel and managing projects that involve such items as asset tracing, cost/fee
    analysis, forex trading, cross currency leveraging/hedging, insider trading, profit/(loss) calculations,
    concentration analysis and market trend research. Scott's engagements often cover a wide spectrum
    of issues and have lasted as little as one day to multiple years.
    He is often called upon to assist in taking complex, quantitative issues and distilling the results into a
    clearly stated, succinct response, thereby allowing our clients to make timely, informed decisions.
    Before joining the Bates Group, Mr. Lucas was a manager with LECG and Bates Private Capital
    Incorporated, a firm that provided litigation consulting, financial analysis, market trend research, and
    expert witness testimony for securities and other financial related matters. During his time at LECG /
    Bates, Mr. Lucas has overseen many large scale internal, regulatory and forensic investigatory
    engagements on behalf of some of the world’s top brokerage firms involving such matters as money
    laundering, derivatives, financial analysis, trading patterns and alternative damages models.


    SELECT LITIGATION ENGAGEMENTS

        o    Retained by counsel to assist in a matter against the NY State Attorney General's office
             regarding allegations of market manipulation and preferential treatment to insiders and
             "friends and family". For a specific time period, the entire trading of a firm was analyzed and
             traced to identify trends and unlawful trading.

        o    Retained by counsel representing a major hedge fund being investigated by the SEC as to
             whether, through the use of consultants, the fund's trading violated insider trading
             regulations. The engagement required researching potential correlations between thousands
             of trades and such items as timing of meetings, relationships and employment history.

        o    Retained by counsel as part of an internal investigation into whether a broker instituted the
             same option strategy on employee stock regardless of the clients' objectives. The inquiry
             required financial analyses on hundreds of employees' accounts from a large cap Wall Street
             firm.

        o    Retained by counsel as part of a bankruptcy proceeding to trace cash funding and trading
             activity of a cash management fund which had assets under management of approximately



    Scott E. Lucas                          www.batesgroupllc.com                                   Page 1 of 2
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             $1.5 billion. Identified and extracted key source documents from a large database in order to
             perform the analysis

        o    Retained in a criminal case that required the tracing of stolen cash/securities from a world
             renowned brokerage firm.

        o    Retained by counsel to assist in identifying security transactions that were unlawfully
             liquidated in the secondary market thereby artificially inflating the true market value.
        o    Retained by counsel to assist in recreating the internal financial entries of reverse repo trades
             that occurred at a major brokerage firm.

        o    Retained in response to a class action lawsuit involving a top five international bank to
             provide financial analyses related to hundreds of clients who allegedly relied on the research
             advice of the institution.

    EXPERIENCE

    Bates Group LLC
    Managing Director, Internal and Regulatory Investigations, 2016-Present
    Chief Knowledge Officer, 2011-2016

    LECG
    Principal, 2005 to 2011

    Bates Private Capital Incorporated, Lake Oswego, Oregon,
    Manager, 2003-2005;
    Senior Analyst, 1996-2003

    R. Thomas McFadden, Jr., CPA, McMinnville, Oregon,
    Intern Tax Preparer, 1996


    SECURITIES INDUSTRY EXPERTISE & LICENSES HELD

    Series 7–Full Registration/General Securities Representative (Inactive)




    Scott E. Lucas                          www.batesgroupllc.com                                   Page 2 of 2
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         FIDUCIARY SERVICES

   Bates Group’s professionals have considerable experience serving as a fiduciary in a
   number of different roles, including:


    •	 Federal Equity Receiverships - A federal equity receiver is an independent third
       party appointed by a federal district court at the request of a regulatory agency to
       prevent irreparable harm by the defendant. Once appointed, the receiver takes
       on numerous responsibilities, which include protecting and preserving assets,
       locating additional assets through asset tracing, third party litigation, clawing
       back ill-gotten gains, marketing and liquidating estate assets, establishing claims
       procedures, and developing a distribution plan to provide restitution to victims.

    •	 Corporate Monitors - Settlements between companies and regulators frequently
       require the appointment of a corporate monitor to ensure compliance with the
       terms of the settlement. The appointment of a corporate monitor provides a
       company with the necessary time to implement corrective actions pursuant to a
       settlement with the regulator in place of more severe punishment or fines.

    •	 Turnaround and Restructuring - In order to provide assurance to customers and
       creditors, a turnaround and restructuring professional is brought into a company
       to help identify key business risks and opportunities, review and stabilize
       financial operations, provide liquidity projections and to negotiate with lenders
       to restructure debt.

    •	 Trustee in Bankruptcy - A trustee is an independent third party appointed to
       administer a bankrupt entity for the benefit of creditors. The duties include
       marshalling, protecting, preserving and administering assets.

    •	 State Court Receiverships - A state court receiver is appointed by the court to take
       possession of specified assets, including property or businesses, and administer
       those assets in accordance with court orders for the benefit of the parties involved.
       State court receiverships are employed as an alternative to bankruptcy, in resolving
       business disputes, enforcing judgements or under state regulatory actions.


   Bates Group has the skills, insight and experience to assist investors by quantifying
   damages, tracing assets to provide restitution and working with regulators/investigative
   and law enforcement agencies/insurers to assist in fact finding, identifying internal
   control failures and assessing their resultant impact on the investors and financial
   institutions. This includes working with either the investors or class action counsel to
   prepare proof of claims, assisting in the accurate and timely filing of appropriate tax
   forms for losses, and other necessary support roles and activities.
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   About Bates
   In addition to our well-known service offerings in securities litigation consulting,
   Bates Group has developed end-to-end, client-centered services and solutions to
   ensure that our clients, both nationally and internationally, are receiving exceptional
   support in all challenges they face during the lifecycle of their legal matters. Whether
   that begins with an internal or regulatory investigation requiring a response, retail
   or institutional litigation requiring forensic and damages consulting, or ultimately a
   compliance review and solutions, Bates Group has the fraud investigation, forensic
   accounting, valuation, big data, economic modeling and e-discovery expertise to help
   complete your case efficiently and correctly.


   Our Team
   Bates Group’s team of professionals and experts bring decades of practical senior
   regulatory, legal, compliance and business experience to bear on behalf of clients
   in regulatory, compliance, and litigation matters. Our team of highly credentialed
   practitioners, including individuals who have earned such designations as Certified
   Public Accountant, Chartered Accountant, Certified Fraud Examiner, Chartered
   Financial Analyst and Certified Valuation Analyst, are leveraged by our clients to
   conduct or participate in sensitive and complex regulatory and internal investigations.
   Our regulatory practice team has worked closely with regional and multi-national
   financial services corporations, major law firms, and federal and state regulators on
   hundreds of complex financial and securities industry cases.
   We are often called upon to examine large datasets in conducting our investigations,
   or in assisting counsel or regulators in evaluating their own analysis. Our team
   includes individuals who bring a unique mix of financial industry knowledge and
   data science capabilities, which enables us to generate the highest possible added
   value for our clients. Whether it’s a large-scale insider trading investigation or a
   focused examination into specific transactions and/or events, we use experienced
   programmers and forensic experts with financial industry, fraud examination and
   accounting backgrounds to form an effective team. Bates Group plays an integral role
   in helping parties understand the nature of the data set being examined and presents
   its results in a format that the parties can easily interpret and explain.



   Competitive Advantage
   Due to our broad range of experience and expertise, Bates Group is able to perform
   almost all required work in-house, saving both time and money, including tasks
   involving corporate accounting, forensic accounting, case administration, claims
   administration, asset valuation, investor communication and internet technology.
   Bates Group’s billing philosophy is to leverage work down to the staff member with
   the lowest bill rate that also has the skills and experience necessary to complete the
   task at a high level. This allows us to minimize the cost to complete all work associated
   with the case, ensuring a maximum return to stakeholders involved in the matter
   while also preserving the quality of our work product.
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   Fiduciary Experience
   Securities and Exchange Commission – Receivership Cases
    •	 Securities and Exchange Commission v. Health Maintenance Centers, Inc. et al., United
       States District Court for the Western District of Washington at Seattle. An operator
       of medically integrated health clubs was accused of selling unregistered securities
       raising in excess of $91 million from 7,000 investors over seven years, with most
       of the money being misappropriated to finance a grossly extravagant lifestyle for
       the accused fraudsters in what was called the largest stock fraud in Washington
       State history. From assets of $47,000 at appointment, more than $30 million was
       recovered and disbursed to investors.
    •	 Securities and Exchange Commission v. C. Wesley Rhodes and Rhodes Econometrics,
       Inc. et al., United States District Court for the District of Oregon at Portland.
       Investment advisor that was accused of using a Ponzi scheme to steal $36 million
       from just over 80 investors. The funds were found to have been used to purchase
       expensive property, collector cars, jewelry and to pay for an extravagant wedding
       and vacations.
    •	 Securities and Exchange Commission v. Global Online Direct, Inc. et al., United States
       District Court for the Northern District of Georgia at Atlanta. The SEC sought a
       corporate monitor to review the business activities of two farmers purporting to be
       operating a successful distressed merchandise resale business. Once onsite, it was
       quickly determined that no beneficial activities were occurring and the business
       was actually operating as a Ponzi scheme, having solicited nearly $45 million
       dollars in unregistered investments from over 10,000 domestic and international
       investors. The case was converted to a receivership and the assets were liquidated
       for the benefit of investors.
    •	 Securities and Exchange Commission v. Sunwest Management, Inc. et al., United States
       District Court for the District of Oregon at Eugene. The SEC sought a receivership
       and turnaround professional after they alleged that a large operator of retirement
       care facilities in 34 states was operating as a Ponzi-like scheme. In all, the company
       was accused of defrauding over 12,000 investors and creditors for $1.1 billion in
       claims. Ultimately, the company was placed into bankruptcy to shed unprofitable
       investments and then restructured and sold, leading many of the investors to
       receive more than 100 percent of their original investment.


   Securities and Exchange Commission – Corporate Monitor Cases
    •	 Securities and Exchange Commission v. Alexander James Trabulse and Fahey Fund,
       L.P. et al., United States District Court for the Northern District of California at
       San Francisco. Hedge fund manager accused of using clients’ money to pay for
       personal expenses. There were in excess of 100 clients that had invested over $10
       million. An investment ledger was provided, but it contained significant missing
       information and a full forensic accounting was required.
    •	 Securities and Exchange Commission v. Global Online Direct, Inc. et al., United States
       District Court for the Northern District of Georgia at Atlanta. Started as a corporate
       monitor and converted to a receivership. See above for details of the case.
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   Federal Trade Commission – Receivership Cases
    •	 Federal Trade Commission v. Fortuna Alliance et al., United States District Court for
       the Western District of Washington at Seattle. This was an international case that
       operated an Internet Ponzi scheme based in Bellingham, Washington. We took
       immediate possession and control of business locations and intercepted domestic
       and foreign cashier’s checks worth millions of dollars. We uncovered and drilled
       multiple safe deposit boxes, from which we seized hundreds of thousands more
       in international money orders. Other actions included assisting the FTC and U.S.
       Attorney in seizing funds in Antigua and uncovering the purchase of an island
       offshore near Belize, part of the perpetrator’s scheme to establish its own bank.
    •	 Federal Trade Commission v. Merchant Processing, Inc. et al., United States District
       Court for the District of Oregon at Portland. A credit card processing company was
       accused of unlawful trade practices by offering misleading and altered contracts.
       We took possession of the business, replaced all fraudulent contracts, wound
       down a dog racing operation, filed delinquent tax returns and ultimately sold the
       business, allowing us to make all victims whole and writing a multi-million dollar
       check to the U.S. Treasury.
    •	 Federal Trade Commission v. Mutual Consolidated Savings, Inc. et al., United States
       District Court for the Western District of Washington at Tacoma. A business
       offering credit card consolidation services was accused of charging large fees
       while failing to assist most consumers, leaving them with more debt than before
       working with the company. Ultimately, we shut down and liquidated the business
       and calculated the total loss for consumers of the business.
    •	 Federal Trade Commission v. Consumer Advocates Group Experts, LLC et al., United States
       District Court for the Central District of California at Los Angeles. A company
       was accused of predatory practices through its mortgage assistance programs. In
       reality, the business charged consumers large up-front fees and provided little to
       no assistance with their mortgages. Ultimately, we shut down and liquidated the
       business and calculated the total loss for consumers of the business.

   These are just some of the many cases that Bates Group’s team of professionals has
   successfully completed for clients. If you need assistance with a specific issue, or
   if you suspect that you might have a problem, please contact Geoff Winkler, Bates
   Group’s Director of Fraud and Forensic Investigations, to discuss how Bates can help
   you achieve a successful resolution.


   FOR MORE INFORMATION, PLEASE CONTACT:
   Geoff Winkler
   Director, Fraud and Forensic Investigations
   Direct Line: (971) 250-4323
   gwinkler@batesgroup.com


                                                             Bates Group LLC
                                                             5005 SW Meadows Road, Suite 300
                                                             Lake Oswego, OR 97035, United States
                                                             (503) 670-7772 Toll Free: (888) 960-2809
                                                             www.batesgroup.com | contact@batesgroup.com
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          FRAUD AND FORENSIC INVESTIGATIONS
   Within the context of responsible management and effective leadership, organizations must
   consider the risks of fraud and malfeasance and how the consequences of these actions can
   impact stakeholders, enterprise value, and future operations. The typical organization loses
   5% of revenues to fraud each year, but by implementing policies and procedures to prevent,
   deter, and detect fraud as part of an overall anti-fraud strategy, companies can work to
   reduce the likelihood of fraud and limit the financial and reputational impact when fraud
   occurs.

   Bates Group’s Fraud and Forensic Investigations Practice, through our consultants and
   experts, offers a valuable combination of industry and technical expertise, providing value to
   our legal and financial industry clients facing internal investigations, regulatory inquiries or
   investigations, complex litigation and regulatory enforcement matters. Below are some of the
   services we offer as part of our Fraud and Forensic Investigations practice.


   FRAUD PREVENTION & DETERRENCE
   Risk Assessment
   We have created a comprehensive program to prevent and deter fraud within your
   organization by first assessing your risks, initially focusing on policies, procedures and
   internal controls.

   Fraud Awareness Training
   Because we know that over 50% of all frauds are discovered by employees, Bates fortifies
   this line of defense by providing advanced fraud awareness training to employees and
   management.

   Policy Implementation
   Bates also assists in drafting and implementing policies and procedures, including “tone
   at the top,” hiring and HR procedures and whistleblower guidelines, to help prevent or
   minimize the potential occurrence and impact of fraud.

   Transaction Monitoring
   Bates also creates automated surveillance systems within your organization that will
   continually monitor key business areas to alert management of potential fraud.

   Compliance Audits / Review / Staff Training
   To ensure that the preventative measures we put in place continue to effectively serve your
   organization, we schedule future compliance reviews and continuing fraud education and
   training/awareness, as well as review and update fraud detection systems as needed to ensure
   compliance with regulatory rules and regulations.


                                                                 Bates Group LLC
                                                                 5005 SW Meadows Road, Suite 300
                                                                 Lake Oswego, OR 97035, United States
                                                                 (503) 670-7772 Toll Free: (888) 960-2809
                                                                 www.batesgroup.com | contact@batesgroup.com
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   FRAUD INVESTIGATION & DETECTION
   Internal/External Investigations
   Whether it’s a large-scale insider trading investigation or a focused examination into the
   propriety of specific transactions and/or events, Bates Group offers a valuable team of experts
   with financial industry, fraud examination and accounting backgrounds and experience,
   allowing management and its counsel to be in command of the facts in order to make the
   best-informed decisions.

   Interviewing
   The difference between quickly resolving a matter and having it linger for years often comes
   down to having the right people who know the precise questions to ask at the proper time.
   Bates Group consultants have years of experience in investigative interviewing techniques,
   ensuring that we have the skills needed when your next matter arises.

   Big Data Analytics (Data Mining, Analysis and Testing)
   Bates Group provides consulting services involving large and complex datasets, including
   working with datasets containing billions of records. Using state-of-the-art technology
   we follow an efficient and cost-effective approach to assist in navigating the discovery
   process, performing data diagnostics, and conducting statistical and empirical analysis. Our
   experience minimizes the efforts required from your data personnel and will ensure data
   integrity throughout the process.

   Forensic Accounting
   Bates has the skill, insight and experience to assist our clients by quantifying damages and
   tracing assets providing insight in support of fact finding, identifying internal control failures
   and assessing their resultant impact on financial institutions and their clients through the
   use of forensic accounting.

   FRAUD RECOVERY
   Asset Tracing
   Bates Group’s dedicated team, including former senior legal and compliance officers, has
   extensive hands-on experience in tracing assets. Making full use of custom tools and reports
   developed by our top-tier IT team and using some of the best software available, we have
   demonstrated our ability to quickly trace assets and help uncover attempts to commit fraud
   while also allowing us to clearly present asset flows to regulators, arbitration panels, juries,
   law enforcement, or other audiences through advanced visualization techniques.

   Economic and Other Damages
   Bates Group experts provide economic damages analyses and opinions in many dispute
   resolution forums where such damages arise from lost profits, lost future wages, and loss of
   support claims. Our practitioners are experts in generally accepted industry practices and
   benchmarks for estimating damages in these types of claims, as well as best practices in
   documenting and supporting the calculated figures. Often, we help counsel by ensuring that
   the appropriate supporting documents are obtained and help separate necessary data from
   irrelevant information in making these calculations.

   Expert Witness Consulting
   Our nationwide roster of over 100 quantitative and substantive consultants and experts have
   diverse backgrounds, giving Bates a deep and broad variety of expertise, including retail,
   institutional, complex securities and other financial service matters, spanning over 250
   unique areas of expertise.
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   ANTI-MONEY LAUNDERING (AML) INVESTIGATION
   Regulatory Response
   Bates Group has successfully assisted major financial institutions in response to inquiries
   and investigations from regulatory agencies. Many of our consultants have previously worked
   for regulatory agencies, providing unique insights to achieve the best possible results for our
   clients.

   Look-Back Investigations
   Whether due to regulatory inquiry, enforcement matter, or a self-initiated review, a
   look-back review of customer transactions is sometimes necessary to correct deficiencies
   in investigations or transactional monitoring. Bates Group has placed dozens of AML
   investigators into our financial institution clients within days to assist with their AML alert,
   sanction, OFAC and other related investigations.

   Business as Usual Investigations
   Similar to look-back investigations, Bates Group has the ability to place dozens of AML
   investigators in your financial institution within days to assist with AML investigations
   involving negative news, fraud, regulatory subpoena, free looks and transactional analysis.


   FIDUCIARY AND RELATED SERVICES
   Corporate Monitorships - Regulators frequently require appointment of an independent
   corporate monitor to ensure compliance with the terms of a settlement between the company
   and the regulator. The appointment of a monitor allows a company to take corrective actions
   pursuant to a regulatory settlement in place of more severe punishment or fines. Bates Group
   has considerable experience serving as an independent monitor while also minimizing the
   impact on the operating business.

   Turnaround and Restructuring - In order to provide assurance to customers and creditors,
   a turnaround and restructuring professional is brought into a company to help identify key
   business risks and opportunities, review and stabilize financial operations, provide liquidity
   projections, negotiate with lenders to restructure debt, and create a post-turnaround
   restructuring plan as a blueprint for effective ongoing operations.

   Trustee in Bankruptcy - A trustee in bankruptcy is an independent party appointed to
   administer a bankrupt estate for the benefit of all parties involved. As trustee, Bates Group has
   the experience to marshal, protect, preserve, and administer assets in bankruptcy.

   State Court Receiverships - A state court receiver is appointed by the court to take possession
   of specific assets, including property or businesses, and administer those assets for the benefit
   of the parties. State court receiverships are often used as an alternative to bankruptcy, in a
   business dispute, to enforce a judgement, or pursuant to a state regulatory action. Bates Group
   has broad experience in many different types of state court receivership matters.

   Federal Equity (Regulatory) Receiverships - A federal equity receiver is an independent party
   appointed by a federal district court at the request of a regulatory agency to prevent irreparable
   harm. Once appointed, the receiver is usually charged by the court to protect and preserve
   assets, locate additional assets, claw-back ill-gotten gains, initiate third party litigation,
   liquidate assets, establish a claims procedure and develop a distribution plan to provide
   restitution to victims. Bates Group has significant experience working receivership cases with
   the Department of Justice, the Federal Trade Commission and the Securities and Exchange
   Commission.
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CASE EXAMPLES
A hedge fund requested a fraud risk assessment as part of their SOX implementation process. The team of fraud risk
specialists met with members of the legal, finance, investment and accounting departments to brainstorm possible
fraud schemes to which the company might be subject. We then ranked the client’s perception of the likelihood and
potential impact of these schemes and prepared a “heat map” showing the results of these rankings. The final product
was a comprehensive plan, allocating anti-fraud resources to address these threats on a risk-adjusted basis. This
enabled the client to use existing resources to gain greater comfort that the fraud risks were being effectively identified
and managed.
Our Investigations team has searched through millions of pages of documents for evidence of backdated stock option
grants; considered thousands of records to determine whether investors were sold the correct mutual fund share classes;
reviewed the records of financial conduct of a very large number of brokers and advisors; examined loan portfolios to
ensure that lending standards were applied equally to all applicants; audited financial records searching for evidence of
channel stuffing; and verified completion cost estimates for large construction projects.
A private equity firm with an investment in an energy company sent a team of forensic accountants to review the
financial reporting function because their monthly performance reports showed inconsistent results, despite rising
costs. The investigation revealed that there were no financial reporting controls and the Finance Director was preparing
fraudulent reports to disguise that the company was losing money. The Director was replaced and new controls were
implemented, enabling the portfolio company to reduce costs, dispose of excess assets and return a profit, ultimately
being sold at a premium.
Bates Group sent a team of AML investigators to assist a client with a regulatory inquiry regarding thousands of negative
news, free look and fraud transactions going back three years to determine if Suspicious Activity Reports (SARs) should
have been filed or if the cases were appropriately closed. We helped the client quickly assess the potential scope of
cases that should have, but did not, have a SAR filed.
The Department of Justice appointed a successor trustee over a chain of 17 gas stations and convenience stores in
bankruptcy. The company had previously been operated by the debtor-in-possession and was experiencing severe
operational and financial troubles, which required us to work with vendors to ensure product availability, renegotiate
leases, secure new lines of credit, and fix environmental issues, culminating in the sale of assets once operations
improved and maximum value was achieved.
The Securities and Exchange Commission (SEC) sought a monitor to review the business activities of two farmers
purporting to be operating a successful distressed merchandise resale business. Once onsite, it was quickly determined
that no beneficial activities were occurring and the business was actually operating as a Ponzi scheme, having solicited
nearly $45 million dollars in unregistered investments from over 10,000 investors. At the request of the SEC, the case
was converted to a receivership and the assets were liquidated for the benefit of investors.
The SEC sought a receivership and turnaround professional after they alleged that a large operator of retirement
care facilities in 34 states was operating as a Ponzi-like scheme. In all, the company was accused of defrauding over
12,000 investors and creditors for $1.1 billion in claims. Ultimately, the company was placed into bankruptcy to shed
unprofitable investments and then restructured and sold, leading many of the investors to receive their entire principal
investment plus interest.


       These are just a few of the many cases that Bates Group has successfully completed for our
       clients. If you need assistance with a specific issue, or if you suspect that you might have a
       problem, please contact our practice leaders Geoff Winkler and Scott Lucas to discuss how
       Bates can help you achieve a successful resolution.

CONTACTS
Geoff Winkler                                          Scott Lucas
Director, Fraud and Forensic Investigations            Managing Director, Regulatory and Internal Investigations
Direct Line: (971) 250-4323                            Direct Line: (971) 250-4344
gwinkler@batesgroup.com                                slucas@batesgroup.com

                                                                            Bates Group LLC
                                                                            5005 SW Meadows Road, Suite 300
                                                                            Lake Oswego, OR 97035, United States
                                                                            (503) 670-7772 Toll Free: (888) 960-2809
                                                                            www.batesgroup.com | contact@batesgroup.com
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1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
4          Telephone No. (323) 965-3998; Facsimile No. (213) 443 -1905.
5    On June 5, 2018, I caused to be served the document entitled PLAINTIFF
     SECURITIES AND EXCHANGE COMMISSION’S RECOMMENDATION
6    THAT GEOFF WINKLER BE APPOINTED RECEIVER on all the parties to
     this action addressed as stated on the attached service list:
7
     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
8    collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of correspondence
9    for mailing; such correspondence would be deposited with the U.S. Postal Service on
     the same day in the ordinary course of business.
10
           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11   which I personally deposited with the U.S. Postal Service. Each such envelope was
     deposited with the U.S. Postal Service at Los Angeles, California, with first class
12   postage thereon fully prepaid.
13         ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
     regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
14   Angeles, California, with Express Mail postage paid.
15   ☒      HAND DELIVERY: I caused to be hand delivered each such envelope to the
     office of the addressee as stated on the attached service list.
16
     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
17   by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
     deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
18   Los Angeles, California.
19   ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
     the electronic mail address as stated on the attached service list.
20
     ☒    E-FILING: By causing the document to be electronically filed via the Court’s
21   CM/ECF system, which effects electronic service on counsel who are registered with
     the CM/ECF system.
22
     ☐     FAX: By transmitting the document by facsimile transmission. The
23   transmission was reported as complete and without error.
24         I declare under penalty of perjury that the foregoing is true and correct.
25   Date: June 5, 2018                         /s/ Gary Y. Leung
26                                              GARY Y. LEUNG
27
28
 Case 2:18-cv-05008-FMO-AFM Document 4-3 Filed 06/05/18 Page 44 of 44 Page ID #:123




1                        SEC v. RALPH T. IANNELLI, et al.
              United States District Court—Central District of California
2                               Case No. 2:18-cv-05008
3
                                   SERVICE LIST
4
5              Ralph T. Iannelli
               1486 East Valley Road
6              Montecito, CA 93108
7              Essex Capital Corporation
               1486  East Valley Road
8              2nd Floor
               Montecito, CA 93108
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